Case 3:08-cv-05298-AET-LHG Document 104 Filed 08/01/11 Page 1 of 2 PagelD: 975

Connell Foley LLP

85 Livingston Avenue

Roseland, New Jersey 07068

(973) 535-0500

Attorneys for Third-Party Defendant, Enviro-Sciences (of Delaware), Inc.

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA,
Plaintiff, Civil Action Number 08-CV-5298
Vv.
L.P., UNITED STATES REALTY ASSOCIATES, LIMITED
RESOURCES, INC. : PARTNERSHIP; SB BUILDING GP,
L.L.C.; UNITED STATES LAND
and : RESOURCES, L.P.; AND UNITED
STATES REALTY RESOURCE
7.04 ACRES OF LAND, More or Less, INC.: AND THIRD P ARTY S,
Ford Avenue, Milltown, Middlesex County, (OF DELAW ARE) INC.: AND THIRD
’ *9
New Jersey, PARTY DEFENDANT, VEOLIA ES

TECHNICAL SOLUTIONS, L.L.C.
Defendants.

 

SB BUILDING ASSOCIATES, LIMITED
PARTNERSHIP, SB BUILDING GP, L.L.C.,
UNITED STATES LAND RESOURCES,
L.P., UNITED STATES REALTY
RESOURCES, INC.,

Defendant/Third-Party Plaintiffs,
V.
ENVIRO-SCIENCES (OF DELAWARE),
INC. and VEOLIA ES TECHNICAL
SOLUTIONS, L.L.C.

Third-Party Defendants.

 

2761810.1

2548912-01
Case 3:08-cv-05298-AET-LHG Document 104 Filed 08/01/11 Page 2 of 2 PagelD: 976

The matter in difference in the above-entitled action having been amicably adjusted by
and between attorneys for Defendants/Third Party Plaintiffs SB Building Associates, Limited
Partnership, SB Building GP, L.L.C, United States Land Resources, L.P. and United States
Realty Resources, Inc. and Third Party Defendants, Enviro-Sciences (of Delaware), Inc. and
Veolia ES Technical Solutions, L.L.C., it is hereby stipulated and agreed that all claims and third
party claims among these parties are hereby dismissed with prejudice and without costs against

any party, and subject to the provisions of the Settlement Agreement dated June 23, 2011.

WOLFF & SAMSON PC CONNELL FOLEY LLP
Attomeys for Defendants/Third Party Plaintiffs, Attorneys for Third Party Defendant,
SB Building Associates, Limited Partnership, Enviro-Sciences (of Delaware), Inc.

SB Building GP, L.L.C, United States
Land Resources, L.P., and United States
Realty Resources, Inc.

ee LA

Tisftothy E. Corriston, Esq.

LLY

 

 

 
 

Ta John A. McKinney, Ke
Dated: gli | ul

SAIBER, LLC
Attorneys for Third Party Defendant,
Veolia ES Technical Solutions, L.L.C.

  

By:
Mark A. Roney,

Dated: Lb ” (2. yy)

2761810.1

2548912-01
